 6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 1 of 39




                    Exhibit B
Declaration of Don Yenovkian (May 30,
                2019)
    6:13-cv-02428-JD            Date Filed 05/30/19   Entry Number 127-3      Page 2 of 39




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

United States of America, ex rel.               )
Charles R. Shepherd,                            )
Danny V. Rude, Robert Scott                     )
Dillard, and Rickey Mackey                      )
                                                )
       Plaintiff-Relators,                      )
                                                )
                       v.                       )     CA No.: 6:13-cv-02428-TMC
                                                )
Fluor Corporation, Inc.,                        )
Fluor Intercontinental, Inc.,                   )
                                                )
       Defendants.                              )
                                                )

               DECLARATION OF DON YENOVKIAN IN SUPPORT OF
             FLUOR DEFENDANTS’ MOTION FOR LIMITED EXPEDITED
               DISCOVERY AND TO OTHERWISE STAY DISCOVERY

       I, Don Yenovkian, declare the following:

Background

   1. I am over the age of 21 and competent to testify to the matters stated in this Declaration.

       The statements herein are true to the best of my knowledge and are made from my

       personal knowledge unless stated otherwise. I make this Declaration in support of the

       Defendants’ Motion for Limited Expedited Discovery and to Otherwise Stay Discovery.

   2. I am Senior Counsel to Fluor Corporation, located at 100 Fluor Daniel Dr. in Greenville,

       South Carolina. In this position, I am, among other things, responsible for directing and

       overseeing certain internal investigations undertaken in anticipation of litigation. I have

       worked for Fluor and Fluor entities in this or similar capacities for over 6 years. I am

       knowledgeable about the dealings between Fluor and the government relating to the

       above-captioned qui tam and the other related qui tams (the Nix, Dillard, Mackey, and
6:13-cv-02428-JD       Date Filed 05/30/19      Entry Number 127-3        Page 3 of 39




   Payne cases) relating to allegations of poor performance on LOGCAP IV, Task Order 5

   because of my involvement in directing Fluor’s internal investigation, corresponding with

   the government during its investigation, and developing litigation strategies relating to

   this and the related cases. I first began directing this investigation in May 2013, working

   with Fluor Government Group General Counsel James “Ty” Hughes, a West Point

   graduate who previously served as counsel to various Defense Department components,

   including the Air Force, the Army, and the Department of Defense Inspector General.

3. Fluor first learned of the government investigation in March 2013 when it received an

   FCA Civil Investigative Demand (“CID”) issued by the U.S. Attorney’s Office for the

   Northern District of Illinois.    Upon receipt of the CID, Fluor cooperated with the

   government’s investigation by negotiating an appropriate scope for Fluor’s productions

   under the CID, and making executives and other personnel available to provide briefings

   to the government upon request.

4. Fluor anticipated the possibility of future enforcement actions immediately upon receipt

   of the CID, and accordingly initiated its own privileged internal investigation. That

   investigation was initially directed by Ty Hughes, in or about May 2013. Mr. Hughes

   was assisted by various personnel from the Compliance, Corporate Investigations, and

   Corporate Security departments, as well as myself.

5. At the time this investigation was initiated, Jeffrey Nix (the Relator in the Nix

   Complaint) was employed by Fluor in the Compliance Department. Mr. Nix began

   working on the internal investigation under Mr. Hughes’ direction in or about July 2013

   after Mr. Nix returned from a “rest and relaxation” leave.        Mr. Nix and all other

   personnel working on this internal investigation were informed that their work was
6:13-cv-02428-JD        Date Filed 05/30/19     Entry Number 127-3        Page 4 of 39




   performed at the direction of counsel and was both confidential and privileged. At this

   time, Fluor did not know Mr. Nix had already filed a qui tam or that he was in any way

   involved with the government’s own investigation of these same issues.

6. At no time did Mr. Nix disclose to Fluor that he had filed a qui tam action against Fluor

   or that he was working with the government in their investigation of Fluor.

7. During the course of the investigation, Mr. Nix worked on various reviews directed by

   Mr. Hughes or corporate investigations personnel who worked under Mr. Hughes’

   supervision. He was party to attorney-client communications and created work product

   at the direction of counsel.

8. Mr. Nix and Justin Jones (another Fluor Compliance employee at the time) would

   collaborate on documents during this privileged investigation by saving them to a

   “Compliance Share Drive” to which they both had access.

9. Although Fluor did not know at the time, we later came to learn that Mr. Nix, through his

   FCA counsel, shared documents stolen from the Compliance Share Drive with the

   government in disclosures made as early as September 2013 and continuing until his

   separation from Fluor in June 2014 as part of a reduction in force that resulted from the

   U.S. military drawdown in Afghanistan. Those documents included privileged material.

10. As the investigation progressed, for reasons that were not disclosed to Fluor, the

   government’s investigation shifted from the Northern District of Illinois (where the CID

   had issued) to South Carolina. By January 2014, the government investigative team had

   expanded to include an attorney from “main DOJ” (Art Coulter of the DOJ Commercial

   Litigation Branch, Civil Frauds Section), as well as Frances Trapp and Beth Warren, both

   Assistant United States Attorneys based out of South Carolina, and many others.
6:13-cv-02428-JD        Date Filed 05/30/19      Entry Number 127-3       Page 5 of 39




11. The United States Attorney for the District of South Carolina at this time was William N.

   Nettles, who also took an active role in the investigation.

12. Primarily through Mr. Coulter, the DOJ made a series of informal document requests

   outside the scope of the CID in 2014. Consistent with Fluor’s engagement with prior

   government counsel on the CID, Mr. Hughes and I engaged cooperatively on Fluor’s

   behalf to narrow the scope of these new requests in order to make them reasonable and

   proportionally narrow.

13. On February 25, 2015, the government issued a new subpoena. This Department of

   Defense Inspector General subpoena (UID 2015173-13620) expanded on the earlier CID

   requests to include additional topics. Some of these new topics related directly to the

   privileged work performed or observed by Mr. Nix during the privileged internal

   investigation in which he participated.

14. Once again, and consistent with Fluor’s prior approach in this investigation, Fluor

   conferred with the government and agreed to a prioritization of production and a

   narrowing of scope for documents called for under the DoD-IG subpoena. During the

   course of these conversations with the government, the government disclosed that there

   were qui tam actions filed under seal, but they did not disclose who the Relators were at

   that time.

15. In light of the government’s confirmation of Relator involvement, I expressed concern

   during a March 6, 2015 telephone call with the government at the prospect of the Relators

   (or any third party) gaining access to Fluor’s proprietary and confidential data. To be

   clear, all of Fluor’s productions up to this point had been made with an express warning

   that the documents may be exempt from the Freedom of Information Act because they
6:13-cv-02428-JD       Date Filed 05/30/19       Entry Number 127-3      Page 6 of 39




   contained privileged or confidential Trade Secrets or commercial or financial

   information. See, e.g., Attach. 1, Letter from Don Yenovkian to Jason Allmon (Mar. 20,

   2015). At no time did Fluor consent to the government sharing its documents with any

   individuals or groups outside of the Department of Defense and Department of Justice,

   and in fact our production letters each expressly stated that Fluor opposed such sharing.

   Id. At no time did Fluor waive privilege or the attorney work product protections as part

   of its response to the government’s investigative requests.

16. In response to my concerns, the government never intimated that it would violate Fluor’s

   request that the government not share information or documents produced under the

   subpoena with Relators. The government did not mention, and Fluor had no reason to

   suspect at this time, that the government possessed or had distributed Fluor’s privileged

   material.

17. Fluor proceeded to make rolling productions under the subpoena.

18. In August 2015, the government provided Fluor with redacted copies of the FCA

   complaints that had been filed under seal. These partially unsealed complaints relayed

   the materials management allegations upon which the government investigation was

   focused, but did not identify the Relators themselves.

19. On November 23, 2015, Fluor and the government (including then-United States

   Attorney William Nettles) met in person to discuss the status of the government’s

   investigation.   During this meeting, the government accepted Fluor’s offer of a

   coordinated site visit for government investigators so that they could view certain

   materials management computer records at Fluor’s offices. Although we had offered

   multiple times over the past years to engage in a technical discussion about those
6:13-cv-02428-JD         Date Filed 05/30/19    Entry Number 127-3        Page 7 of 39




   computer records, the November 23 meeting was the first time the government opted to

   take advantage of this offer. See Attach. 2, Letter from Ty Hughes to William Nettles

   (Dec. 2, 2015).

20. In early 2016, Fluor learned that the government had been interviewing Fluor’s former

   employees. Among those employees contacted was former Fluor corporate investigator,

   Andrew Johnson.       Mr. Johnson had held a key role in Fluor’s privileged internal

   investigation.

21. Mr. Johnson informed Fluor of the government’s attempt to interview him, which

   prompted concerns that the government was attempting to invade Fluor’s privilege.

22. In response to this disturbing news, on January 21, 2016, Fluor offered to engage in an

   orderly process to facilitate government interviews of former Fluor employees. Attach.

   3, Letter from Craig Margolis to Beth Warren (Jan. 21, 2016). Fluor’s proposal was for

   the government to provide notice to Fluor of which former employees it desired to

   interview, at which point Fluor could reasonably alert the government to any anticipated

   privilege concerns.

23. The government did not accept this offer and declined to provide Fluor with notice of any

   future interviews of former employees. Fluor was permitted to provide the government

   with a list of key individuals who participated in the privileged internal investigation,

   which we did. Mr. Nix is on that list. See Attach. 4, letter from Don Yenovkian to Art

   Coulter and Beth Warren (May 20, 2016).           At the same time, we cautioned the

   government that Fluor now feared that documents provided to the government by former

   employees may well contain privileged information relating to this investigation.
6:13-cv-02428-JD        Date Filed 05/30/19      Entry Number 127-3        Page 8 of 39




24. In the summer of 2016, Fluor conducted forensic analysis on the Compliance Share Drive

   and determined that it appeared someone had downloaded large quantities of documents

   from that drive (including ones relating to the privileged internal investigation). Fluor

   suspected, but could not confirm at that time, that Mr. Nix had stolen these documents.

   In order to protect the privilege, we informed the government of our suspicions regarding

   these documents, and requested that the government provide Fluor with the stolen

   documents so that it could review them and identify those that were potentially

   privileged. The government did not agree to our request, and would not even confirm

   that it had received any stolen documents, or who was the source of those documents.

25. Fluor’s productions to the government pursuant to the subpoena continued on a rolling

   basis (at this point totaling over 8 million documents).

26. On November 7, 2016, the government posed a specific request for production of

   documents relating to a “work order” audit. The audit as described by the government

   corresponds with a review Mr. Nix conducted at the direction of counsel as part of

   Fluor’s privileged internal investigation.

27. In the face of a direct request for privileged information, Fluor made additional

   productions of the underlying factual documents relating to the audit’s subject matter, but

   did not produce the privileged work product itself. During later conversations with the

   government, we explained that the work order audit was part of the privileged internal

   investigation and therefore would not be produced.

28. In February 2017, the government informed Fluor that it intended to make a presentation

   to Fluor as to its allegations. That meeting took place on April 25, 2017. Directly prior

   to the meeting, the government informed us that Relators’ counsel would participate in
6:13-cv-02428-JD        Date Filed 05/30/19        Entry Number 127-3     Page 9 of 39




   this meeting, and disclosed the identity of the Relators. This was the first time Fluor

   received confirmation of what it had previously only suspected: that Fluor’s then-former

   Compliance Manager Jeffrey Nix was a Relator.

29. At the April 25, 2017 meeting, the government and Relators’ counsel presented their

   allegations over five hours, highlighting certain documents. Among these, I and others

   on my team immediately recognized documents relating to the privileged internal

   investigation. These documents had not been produced to the government by Fluor, due

   to their privileged nature, and so we concluded that they must have been provided by

   some other source.

30. The privileged documents displayed during the April 25, 2017 presentation contained

   analysis and conclusions from that internal investigation.

31. At the close of the April 25, 2017 meeting, we immediately alerted the government

   attorneys verbally and in person to the privileged materials. The government responded

   by letter three days later, claiming that those documents were not in fact privileged while

   simultaneously conceding that it had received other privileged documents not used in the

   presentation. Attach. 5, Letter from Beth Warren to Don Yenovkian (Apr. 28, 2017).

32. After an extensive exchange of letters and emails on the subject, Mr. Nix’s counsel

   provided Fluor a full set of documents he had provided to the government.            Fluor

   reviewed these documents and identified 29 documents as privileged, including those

   used during the April 25, 2017 presentations.

33. One of the documents stolen by Mr. Nix is particularly troubling, because the version of

   that document as it exists on Fluor’s own servers clearly bears attorney-client privilege

   markings. However, the version Mr. Nix’s counsel appears to have provided to the
6:13-cv-02428-JD       Date Filed 05/30/19      Entry Number 127-3        Page 10 of 39




   government does not. The document is otherwise identical to the version on Fluor’s

   servers. The meta-data of that document reflects that it was “last updated” after Mr. Nix

   misappropriated it from Fluor’s servers, and that the update was made by an individual

   named Benjamin Chaiken.

34. According to LinkedIn, Mr. Chaiken was a paralegal at Phillips & Cohen LLP from

   2012-2015. Phillips & Cohen LLP represented Mr. Nix in his qui tam at that time.

35. The government later also provided Fluor with five CDs containing documents provided

   to the government from third parties other than Mr. Nix (primarily, it seems, former Fluor

   Security Investigator and soon-to-be-relator David Payne).         Fluor reviewed these

   documents and identified 16 as privileged.

36. While these reviews were ongoing, Fluor placed the government on notice that it had

   already identified some privileged documents, some of which still bore “attorney-client

   privilege” markings and/or include counsel for Fluor as sender or recipient.

37. Based on the titles of the file folders in which the Nix and Payne documents were

   provided to Fluor, it appears that Mr. Nix provided stolen privileged documents to the

   government in September and November of 2013, while Mr. Payne provided privileged

   documents to the government at latest by May 2014.

38. The government assured Fluor outside counsel Craig Margolis by phone that it had not

   reviewed the Payne documents and that it would not do so, which Mr. Margolis

   confirmed later by letter. Attach. 6, Letter from Craig Margolis to Art Coulter, Stanley

   Ragsdale, and Beth Warren at 2 (Aug. 7, 2017). With this assurance, Fluor focused its

   efforts on responding to the government’s other concerns at that time (namely whether
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 11 of 39
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 12 of 39




                   Yenovkian Declaration
                       Attachment 1
      6:13-cv-02428-JD            Date Filed 05/30/19          Entry Number 127-3            Page 13 of 39



 FLUOR


 Fluor Enterprises, Inc.                                                         Donald M. Yenovkian II
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 don.yenovklan ©fluor.com



March 20, 2015

U.S. Army Criminal Investigation Command
Rock Island Fraud Resident Agency
Attention: Special Agent Jason M. Allmon
1701 River Drive, Suite 310
Moline,IL 61265



Subject: First submission in response to U.S. Department of Defense Inspector General
Subpoena Duces Tecum (UID 2015173-13620) - Issued to Fluor International, Incorporated

VIA FEDERAL EXPRESS


Dear Special Agent Allmon:

        This first submission is provided in partial response to the subject Subpoena Duces
Tecum ("Subpoena") and is provided as a result of the March 6, 2015 telephone conference
between Fluor, the Department of Justice, and the U.S. Army Criminal Investigation Command,
Rock Island Fraud Resident Agency. As we discussed, the numbers of potentially responsive
documents and data are vast and responding to the requests as written would be extraordinarily
burdensome and expensive. On March 6, 2015, we agreed that the government and Fluor would
be best served if the government prioritized its requests, if the parties communicated regarding
the scope of documents and data potentially responsive to specific requests, and if the Fluor
production was made on a rolling basis. Please let me know if this is inconsistent with DODIG
and DOJ's understanding of the agreements made during the March 6, 2015 meeting.

        Enclosed herewith is an encrypted USB hard drive.' I will send, separately, the keypad
code required to unlock the drive. Included on the USB drive is the first subset of data
responsive to the Subpoena, as Fluor understood the prioritized list that the government orally
provided on March 6, 2015, as well as this transmittal letter and Attachment 1 to this letter. In
short, we are providing data responsive to document requests 1, 4, and 17. Attachment 1 hereto

' As we discussed onWednesday, March 18, 2015, these encrypted disks are expensive. Please return this USB hard
drive via the enclosed prepaid FEDEX box. Fluor intends to reuse this encrypted drive for future submissions. We
understand that you will make a copy of the drive and then return it.
     6:13-cv-02428-JD       Date Filed 05/30/19       Entry Number 127-3         Page 14 of 39




March 20, 2015
Page 2 of 2

provides a description of data and responses provided by Fluor on the encrypted hard drive. If
Fiuor provided responsive data in this first submission, it is listed in the "Response Number
(Date)" column. Where there is no entry in the Response Number (Date) column, Fluor provided
information in accordance with our prior agreement to communicate regarding the scope of
potentially responsive documents and data.

       Please contact me if you have any questions about or difficulty with the electronic files.
As we agreed on March 6'*^, after the government's technical personnel have reviewed the data,
we are willing to make our technical personnel available to answer initial questions regarding
the data provided and/or how our systems are set up. This will also help the government to
identify its additional priorities for future Fluor productions. Please let me know when the
government would prefer to have this conversation. We can then discuss the general nature of
the questions to ensure the right Fluor technical personnel are made available.

         In the interest of expediency and cooperation, Fluor has provided all responsive
documents from the files. Some of these responsive documents may be exempt, in whole or in
part, from public release under the Freedom of Information Act (FOIA), 5 U.S.C. § 552(b)(4)
(privileged or confidential Trade Secrets or commercial or financial information). Fluor does
not consent to DoD or Office of the Inspector General (DODIG) release of any of these
documents under FOIA, and specifically requests notification if DODIG receives a request for
any of the enclosed records or if legal proceedings are initiated to obtain any such records.

       Further, as discussed on March 6, 2015, Fluor does not consent to DODIG or DOJ
sharing any of the responsive documents with any individuals or groups outside your respective
agencies. Over the next several weeks and months, Fluor is willing to discuss your particular
needs, if any, to share outside of DOD or DOJ, as you feel it necessary.

      I would appreciate it if you would sign for receipt and return a copy to me via scanning
and email or via U.S. mail. Please contact me with any questions.

                                             Sincerely,




                                             Don Yenovkian
                                             Senior Counsel
                                             Fluor Corporation



Received by, on behalf of U.S. Army Criminal Investigation Command
Rock Island Fraud Resident Agency
                                                                                             6:13-cv-02428-JD         Date Filed 05/30/19        Entry Number 127-3           Page 15 of 39

                                                                Attachment 1 - Description of data and information provided by Fluor on encrypted hard drive on March 20, 2015
Project   U.S. Army Logistics Civil Augmentation Program (LOGCAP IV)               Contract Number: W52P1J-07-D-0008
Name:

Task      For the provision of subsistence services in Northern Afghanistan, and   Subpoena Number: 2015173-13620
Order     all modifications or extensions to the Contract

Number                        IV. DOCUMENTS REQUIRED                               Requirement        Requirement Description                                      Response           Response/Explanation
                                                                                                                                                                   Number (Date)

          A full copy of the current MAXIMO database as of February 1, 2015,        Requirement - A   A full copy of the current MAXIMO database as of             Response 1, March The full copy of the MAXIMO database as of February 1, 2015, including all database tables and
          including all database tables, schema-level objects, and table creation                     February 1, 2015, including all database tables, schema-     20, 2015          schema-level objects, has been provided on the enclosed external USB hard drive. The files are
          and schema modification commands and scripts. This includes, but is                         level objects,                                                                 in the "\Maximo_Full_Backup_20150201" folder. The file type provided is an EMC Avamar
          not limited to, any and all other databases that hold and/or impact                                                                                                        Microsoft SQL Server Backup file. The PDF file "RestoringAvamarBUtoSQLServer.pdf" is included
          MAXIMO tables such as the "a_workorder_arch" table. This request                                                                                                           that provides instructions from EMC on pages 126-128 on how to perform a restore of this file
          also includes all legacy and/or alternative systems/databases, including,                                                                                                  without using EMC Avamar software. Once the data is restored, the Microsoft SQL reporting
          but not limited to excel spreadsheets, memoranda, and memo systems,                                                                                                        tool can be used to query the database tables and run reports.
          which refer to or contain any information related to MAXIMO. This
          request also includes any memoranda, memo systems, or ad hoc              Requirement - B   and table creation and schema modification commands                             The table creation and schema modification commands and scripts are not a component of the
          reports related to any and all database tables that hold and/or impact                      and scripts.                                                                    Fluor database backup files. Fluor is assessing the scope of effort and best approach for
          MAXIMO.                                                                                                                                                                     compiling this data. The Microsoft SQL reporting tool can be used to query the database tables
                                                                                                                                                                                      and run reports without this information.

                                                                                   Requirement - C    This includes, but is not limited to, any and all other Response 1, March The FGG_MAXIMO_ARCH database contains the audit history for the work orders in Maximo.
                                                                                                      databases that hold and/or impact MAXIMO tables such as 20, 2015          Due to its large size, Fluor has designed Maximo to maintain this FGG_MAXIMO_ARCH database
                                                                                                      the "a_workorder_arch" table.                                             separate from the main Maximo database. The FGG_MAXIMO_ARCH database as of February 1,
                                                                                                                                                                                2015 has been provided on the enclosed external USB hard drive in the
                                                                                                                                                                                "\FGG_Maximo_ARCH_20150201" folder. The file type provided is an EMC Avamar Microsoft
                                                                                                                                                                                SQL Server Backup file. The PDF file "RestoringAvamarBUtoSQLServer.pdf" is included that
                                                                                                                                                                                provides instructions from EMC on pages 126-128 on how to perform a restore of this file
                                                                                                                                                                                without using EMC Avamar software. The Microsoft SQL reporting tool can be used to query the
                                                                                                                                                                                database tables and run reports.

    1
                                                                                   Requirement - D    This request also includes all legacy and/or alternative                        MAXIMO was in place at the beginning of the project. There was no legacy system prior to
                                                                                                      systems/databases, including, but not limited to excel                          MAXIMO on this project. Official data in Excel spreadsheets would have been downloaded from
                                                                                                      spreadsheets, memoranda, and memo systems, which                                MAXIMO. End Users can not upload Excel spreadsheet data into MAXIMO.
                                                                                                      refer to or contain any information related to MAXIMO.                          Fluor is continuing to investigate the remaining potentially responsive documents and/or data.


                                                                                   Requirement - E    This request also includes any memoranda, memo                                  The MAXIMO Reporting application allows end users to produce adhoc reports. The MAXIMO
                                                                                                      systems, or ad hoc reports related to any and all database                      Reporting application does not maintain a copy of the adhoc reports that the end users
                                                                                                      tables that hold and/or impact MAXIMO.                                          generate.

                                                                                                                                                                                      From 2008 to 2013 CDRL reports were generated manually ad hoc, from the MAXIMO DB.
                                                                                                                                                                                      Most of the reports were converted to system generated CDRL reports in 2014. We can
                                                                                                                                                                                      provide copies of the CDRL reports that were submitted.

                                                                                                                                                                                      The following applications feed data into MAXIMO:
                                                                                                                                                                                      MATMAN feeds data to MAXIMO.
                                                                                                                                                                                      The MEMCIS application feeds people data into MAXIMO.
                                                                                                                                                                                      The FGG Costapplication feeds cost code data into MAXIMO..

                                                                                                                                                                                      MAXIMO is configured to interface with numerous applications, but the integrity of the tables is
                                                                                                                                                                                      maintained by MAXIMO. These systems, although they interface, do not hold or impact MAXIMO
                                                                                                                                                                                      tables.




                                                                                                                                                                                                                                                                            Page 1 of 2
                                                                                               6:13-cv-02428-JD        Date Filed 05/30/19          Entry Number 127-3        Page 16 of 39

                                                                   Attachment 1 - Description of data and information provided by Fluor on encrypted hard drive on March 20, 2015
Project   U.S. Army Logistics Civil Augmentation Program (LOGCAP IV)                 Contract Number: W52P1J-07-D-0008
Name:

Task      For the provision of subsistence services in Northern Afghanistan, and     Subpoena Number: 2015173-13620
Order     all modifications or extensions to the Contract

Number                        IV. DOCUMENTS REQUIRED                                 Requirement       Requirement Description                                     Response            Response/Explanation
                                                                                                                                                                   Number (Date)

          A full copy of the current MATMAN database as of February 1, 2015,      Requirement - A      A full copy of the current MATMAN database as of            Response 1, March The full copy of the MATMAN database as of February 1, 2015, including all database tables and
          including all database tables, schema-level objects, and table creation                      February 1, 2015, including all database tables, schema-    20, 2015          schema-level objects, has been provided on the enclosed external USB hard drive as an Oracle
          and schema modification commands and scripts. This includes, but is                          level objects,                                                                database backup. The files are in the "\Matman_Backup" folder. The file types provided are an
          not limited to, any and all other databases that hold and/or impact                                                                                                        .DMP - Backup File for Oracle and a .LOG - Oracle backup log file. The Oracle SQL reporting
          MATMAN tables. This request also includes all legacy and/or alternative                                                                                                    tool can be used to query the database tables and run reports.
          systems/databases, including, but not limited to excel spreadsheets,
          memoranda, and memo systems, which refer to or contain any
          information related to MATMAN. This request also includes any           Requirement - B       and table creation and schema modification commands                            The table creation and schema modification commands and scripts are not a component of the
          memoranda, memo systems, or ad hoc reports related to any and all                            and scripts.                                                                    Fluor database backup files. Fluor is still assessing the scope of effort and best approach for
          database tables that hold and/or impact MATMAN.                                                                                                                              compiling this data. The Oracle SQL reporting tool can be used to query the database tables
                                                                                                                                                                                       and run reports without this information.

                                                                                     Requirement - C   This includes, but is not limited to, any and all other                         MATMAN has an interface that sends and receives data to the freight forwarding companies. A
    4
                                                                                                       databases that hold and/or impact MATMAN tables.                                file containing PO data is sent to the freight forwarding companies. The freight forwarding
                                                                                                                                                                                       companies send back a file that lists the items that they have shipped.

                                                                                                                                                                                       MAXIMO Material Request form information is fed to MATMAN
                                                                                     Requirement - D    This request also includes all legacy and/or alternative                       MATMAN was in place at the beginning of the project. There were no legacy systems used on
                                                                                                       systems/databases, including, but not limited to excel                          LOGCAP prior to MATMAN.
                                                                                                       spreadsheets, memoranda, and memo systems, which
                                                                                                       refer to or contain any information related to MATMAN.                          Any MATMAN data in Excel spreadsheets would have been downloaded from MATMAN. End
                                                                                                                                                                                       Users can not upload Excel spreadsheet data into MATMAN.

                                                                                                                                                                                       All official files related to MATMAN have been included on the enclosed USB hard drive. Fluor is
                                                                                                                                                                                       continuing to investigate the remaining potentially responsive data.

          All server level auditing log files for any server(s) on which MAXIMO      Requirement - A   All server level auditing log files for any server(s) on which Response 1, March A snapshot of the server level logs for all servers that MAXIMO runs on or resides was taken on
          runs or resides. This includes, but is not limited to, all Microsoft SQL                     MAXIMO runs or resides.                                        20, 2015          March 9, 2015. The server logs are in the "\System Logs as of 03092015" folder. The file types
          Server C2 auditing log files.                                                                                                                                                 provided are: .EVTX - Microsoft Windows Server Event Log File and .MTA - Microsoft Windows
                                                                                                                                                                                        Server display information for the saved events stored Event Log File.

                                                                                                                                                                                     The server level logs have been provided for six application servers and two SQL database
                                                                                     Requirement - B   This includes, but is not limited to, all Microsoft SQL     Response 1, March The Microsoft SQL Server C2 auditing feature is not enabled in the FGG server environment in
   17                                                                                                  Server C2 auditing log files.                               20, 2015          the ordinary course of business for the relevant systems. Having this auditing feature enabled
                                                                                                                                                                                     would have a negative impact on the server performance. The log files generated would be
                                                                                                                                                                                     very large and require a large amount of disk space to store and backup. In the past, this
                                                                                                                                                                                     auditing feature has been enabled for short periods of time for the purpose of diagnostics and
                                                                                                                                                                                     troubleshooting problems.




                                                                                                                                                                                                                                                                             Page 2 of 2
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 17 of 39




                   Yenovkian Declaration
                       Attachment 2
       6:13-cv-02428-JD            Date Filed 05/30/19      Entry Number 127-3       Page 18 of 39



FLUOR

Fluor Government Group                                                                 James A. Hughes
2300 Clarendon Blvd.                                                                V. P. &. General Counsel
Suite 1110
Arlington, VA 22201

703.387.4814 tel
571.382.0700 cell
703.469.1593 fax
ty.hughes@fluor.com


December 2, 2015

By Electronic Mail

William N. Nettles, Esq.
United States Attorney
U.S. Attorney's Office for the
      District of South Carolina
Wells Fargo Building, Suite 500
1441 Main Street
Columbia, SC 29201

RE:          U.S. Department of Defense Inspector General Subpoena Duces Tecum (UID 2015173-
             13620) - Issued to Fluor International, Inc.

Dear Mr. Nettles:

This is in follow-up to our meeting on November 23 in Columbia, South Carolina to discuss Fluor's
productions under the above-referenced OIG subpoena (and the previous civil investigative demand,
CID-13-D0001), and in particular, the Government's concerns with respect to Fluor's prior
productions of iterations of its Maximo database. We write briefly to memorialize our discussions and
to confirm the path forward.

Fluor has produced three copies of the Maximo database. The first copy was produced on April 23,
2013 and was current through March 21, 2013. The second copy was produced on February 21, 2014
and was current through February 6, 2014. A third copy was produced on March 20, 2015 and was
current through February 1, 2015. On August 20, 2015, in response to an email request from the
government dated May 19, 2015, we provided a copy of the enterprise archive ("EAR") files
necessary to deploy Maximo to a new environment.

We learned for the first time in our meeting on November 23 that the Government, primarily through
the efforts of an as-yet undisclosed expert, has been unable fully to access or utilize the data provided
and which has led to purported significant, but as-yet unidentified, discrepancies in the data that has
been provided.

Over the past two-plus years, I have had numerous conversations with Art Coulter of the DOJ
Commercial Litigation Branch Fraud Section relating to this investigation, Fluor's efforts fully to
cooperate, and inviting direct communication between Fluor IT professionals knowledgeable about
Maximo and Government subject matter experts in order to further the Government's understanding
of this complex system. Only at the November 23 meeting did the Government take Fluor up on this
offer.
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 19 of 39
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 20 of 39




                   Yenovkian Declaration
                       Attachment 3
    6:13-cv-02428-JD                 Date Filed 05/30/19                Entry Number 127-3                      Page 21 of 39




Vinson&Elkins

       Craig D. Margolis cmargolis@velaw.com
       Tel 202,639.6540 Fax 202.879.8840




                                                          January 21, 2016


       Beth C. Warren
       Assistant United States Attorney
       United States Attorney's Office
              for the District of South Carolina
       Civil Division - ACE Unit
       1441 Main Street, Suite 500
       Columbia, SC 29201

                 RE: Fluor Corporation - Contact with Current Employees

       Dear Ms. Warren:

              We represent Fluor Corporation ("Fluor") in connection with the current False Claims
       Act investigation relating to property management by Fluor under LOGCAP IV. As you
       know, Fluor has been actively cooperating in the investigation by producing large volumes of
       data and making factual presentations and its employees available for interview. In order to
       ensure the orderly flow of information and ensure integrity of data provided, Fluor has
       previously asked that Government requests for data, documents and interviews be
       coordinated through its counsel (either in-house or external).

               It has recently come to Fluor's attention, however, that Government investigators
       have made direct contact with at least one of its current employees. We understand that a
       Fluor security department employee was contacted while on leave and was asked to submit to
       an interview and potentially to provide documents.

               We wish therefore formally to reiterate our request that all requests for data,
       documents, and interviews of current employees be coordinated through Fluor counsel. Any
       Fluor documents in the possession of its employees are Company property and, since the
       Company is cooperating with your investigation and producing documents requested, we are
       not aware of any reason why Government investigators should be requesting that Fluor
       employees provide Company property directly to the Government. Similarly, since Fluor is
       represented in this matter, Fluor and its counsel do not consent to the government contacting
       its employees directly for documents, interviews, or any other reason related to this
       investigation.




       Vinson & Elkins LLP Attorneys at Law                             2200 Pennsylvania Avenue NW, Suite 500 West
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       Moscow New York Palo Alto Riyadh Shanghai Tokyo Washington       Tel+1.202.639.6500 Fax+1.202.639.6604 www.velaw.com
      6:13-cv-02428-JD       Date Filed 05/30/19        Entry Number 127-3            Page 22 of 39




V&E                                                                                    January 21, 2016 Page 2




                 As you are certainly aware, pursuant to 28 U.S.C. § 530B and South Carolina Rule of
         Professional Conduct 4.2 (and its commentary), counsel is prohibited from communicating
         directly with a represented organization's employees "whose act[s] or omission[s] in
         connection with the matter may be imputed to the organization for purposes of civil or
         criminal liability." Rule 4.2, comment 7. Investigators and other agents working on behalf
         of Government counsel are subject to the same rules. S.C. Rule of Prof. Conduct 5.3. Given
         the Government's broad reading of the False Claims Act, virtually any employee's conduct
         (and most certainly any employee with any responsibility for property management) could be
         attributed to Fluor and therefore come under this Rule.

                  Moreover, as you also know, the Company has conducted an internal investigation
         supervised by counsel into its management of property under LOGCAP IV. While the
         Company remains fully open to providing factual information relating to its property
         management, it has not decided at this time to waive privilege over its investigation.
         Accordingly, contacting employees directly for documents or interviews risks the
         Government gaining access to information subject to Fluor's attorney-client privilege or
         attorney work product without its consent. Fluor's view is that the unauthorized receipt of
         privileged information would taint the Government's investigation and any resulting
         litigation.

                  As noted in the outset of this letter, Fluor will continue to cooperate and make its
         employees available for interview, but we reasonably request that such requests come
         through counsel. For the foregoing reasons, please confirm to us that the Government will
         abide by Fluor's request or should it decline to do so to inform us of the authority on which it
         relies to continue to contact Fluor's employees without its consent.


                                                              Regards,



                                                              /s/ Craig D. Margolis

                                                              Counsel to Fluor Corporation

         cc: Art Coulter (DOJ)
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 23 of 39




                   Yenovkian Declaration
                       Attachment 4
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 24 of 39
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 25 of 39
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 26 of 39
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 27 of 39




                   Yenovkian Declaration
                       Attachment 5
    6:13-cv-02428-JD      Date Filed 05/30/19    Entry Number 127-3            Page 28 of 39


                                                                     U.S. Department of Justice

                                                                     United States Attorney

                                                                     District of South Carolina

 Wells Fargo Building     151 Meeting Street       John L. McMillan Federal        55 Beattie Place
 Suite 500                Suite 200                  Building, Room 222            Suite 700
 1441 Main Street         Post Office Box 978      401 W. Evans Street             Greenville, SC 29601
 Columbia, SC 29201       Charleston, SC 29402     Post Office Box 1567            (864) 282-2100
 (803) 929-3000           (843) 727-4381           Florence, SC 29503              FAX (864) 233-3158
 FAX (803) 733-5966       FAX (843) 727-4443       (843) 665-6688
                                                   FAX (843) 678-8809

                                                   Reply to: Columbia

April 28, 2017

Don Yenovkian
Fluor Senior Counsel
100 Fluor Daniel Drive
Greenville, South Carolina 29607

Dear Counsel:

       We appreciate your presence at the United States’ and relators’ presentation on
April 25, 2017. At the commencement of the presentation, you raised several concerns
that we believe require clarification by Fluor.

       First, you claim a particular slide deck referenced in the presentation, entitled Pre-
PMSA Adjustment Trends and dated September 2013, is subject to privilege. Counsel for
Mr. Nix provided this document to the United States. As you are aware, the United States
has proceeded with utmost caution during this investigation to limit the risk of obtaining
documents subject to a claim of work product or attorney-client privilege. Counsel for Mr.
Nix has provided the United States multiple assurances that Mr. Nix’s initial disclosure as
well as subsequent disclosures, all of which he provided in 2013, are not protected by
attorney-client or work product privileges of Fluor. So we can assess your contrary
assertion of a privilege expeditiously, please provide written support for your claim, to
include evidence of direction given by Fluor’s counsel to perform the pre-PMSA
Adjustment Trend Review, the date on which counsel communicated this direction, and to
whom it was communicated.

       Second, you raised concerns over the United States’ sharing of Fluor’s documents
with relators’ counsel. As we stated during our meeting, the False Claims Act, 31 U.S.C.
3729–3733(“FCA”) contemplates that relators may play a role in an FCA investigation.
See, e.g. 31 U.S.C. 3733(a)(1) (“Any information obtained by the Attorney General or a
designee of the Attorney General under this section may be shared with any qui tam relator
   6:13-cv-02428-JD       Date Filed 05/30/19    Entry Number 127-3       Page 29 of 39


Mr. Yenovkian
April 28, 2017
Page 2 of 3


if the Attorney General or designee determine it is necessary as part of any false claims act
investigation.”) The United States is unaware of any support for your position that the
United States is prohibited from sharing documents obtained through an FCA investigation
with the relators who brought the claim. We will evaluate any information you wish to
provide on this issue.

       Third, you informed us during the meeting that Shane Ramirez, who had confirmed
with our agent on April 14, 2017 that he was a former employee of Fluor, has been hired
as a contractor for Fluor as of April 21, 2017. Mr. Ramirez agreed to an interview on June
1, 2017, in Sheridan, Wyoming. You are welcome to attend the interview if you desire.

       On Monday, April 24, 2017, we informed you of an incident that took place on
Tuesday, April 18, 2017, where the first page of a potentially privileged document, never
in the possession of the United States, was placed for view on a screen during a meeting
with relators’ counsel. We informed you that we never had custody of the document and
that we immediately recognized the markings and asked the document be removed from
the screen. This document made reference to an internal BRMF analysis. However, in our
review of documents produced by Fluor, there are other BRMF documents that contain no
indicia of privilege (FLE00988881 and FLE00988882). Accordingly, we have asked for
your position on whether you claim privilege over these documents Fluor previously
produced.

       Finally, on or about May 20, 2016, Fluor informed the United States that on May
24, 2013, Fluor counsel initiated an internal investigation in response to the Department of
Justice’s investigation of Fluor’s property management under Task Order 5. Fluor asserted
that protected documents may not contain any indicia of privilege or work protect but
provided a defined list of Fluor employees who Fluor claims were tasked with performing
the investigation on behalf of Fluor counsel. Since our first communications about this
issue in January 2016 the United States has asked repeatedly for a privilege log. To date,
the United States has not received one.

      Subject to Federal Rule of Evidence 408 please find attached the presentation slides
and a list of bates numbers of documents referenced in the presentation which were
produced by Fluor.
   6:13-cv-02428-JD    Date Filed 05/30/19   Entry Number 127-3       Page 30 of 39


Mr. Yenovkian
April 28, 2017
Page 3 of 3


       We look forward to hearing from you on the above-described items and on the
questions posed by the United States during the April 25, 2017 presentation.

                                             Kind regards,

                                             BETH DRAKE
                                             United States Attorney



                                             s/ Beth Warren
                                             Beth Warren
                                             Assistant United States Attorney
                                             District of South Carolina


cc: Ty Hughes, Ty Hughes, PA
    Craig Margolis, Vincent & Elkins, LLP
    Mark Moore, Nexsen Pruet
    Art Coulter, DOJ Trial Attorney
    Melissa Goforth-Koenig, DOJ Trial Attorney
    Stan Ragsdale, AUSA
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 31 of 39




                   Yenovkian Declaration
                       Attachment 6
    6:13-cv-02428-JD               Date Filed 05/30/19            Entry Number 127-3            Page 32 of 39



Vinson&Elkins

       Craig D. Margolis cmargolis@velaw.com
       Tel +1 .202.639.6540 Fax +1 .202.679.6640




       August 7, 2017

       By Email and FedEx

       Art J. Coulter
       Trial Attorney
       U .S. Department of Justice
       Commercial Litigation Branch, Civil Frauds Section
       Washington, DC 20044

       Stanley D. Ragsdale
       Elizabeth C. Warren
       Assistant United States Attorneys
       United States Attorney' s Office
       District of South Carolina
       1441 Main Street, Suite 500
       Columbia, SC 29201

       Re:        LOGCAP IV Property Management Investigation

       Dear Mr. Coulter, Mr. Ragsdale, and Ms. Warren:

               We write in response to Ms. Warren 's letter of July 19, 2017. As you know, we have
       separately addressed some issues relating to the misappropriation of privileged documents in
       separate correspondence dated July 25 and 28, 2017. We note that several of the questions
       Fluor raised in its letter of June 7, 2017 to which the July 19 letter purports to respond,
       remain unaddressed, and indeed, the letter generally appears to be an attempt to deflect
       Fluor's concerns by raising questions from the government. Nevertheless, we will attempt to
       address the issues fairly raised by the letter and continue to await fulsome responses from the
       government to the concerns Fluor raised earlier.

       I.         Privilege Issues

               We understand from the July 19 letter that the government asserts that it has taken
       sufficient steps to safeguard Fluor's privileges in conducting its investigation, yet the
       government has provided absolutely no description, much less detail, as to what safeguards
       were used. Indeed, at a minimum, whatever safeguards were employed were insufficient in


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       Palo Alto Richmond Riyadh San Francisco Taipei Tokyo Wash ington        Tel +1 .202.639.6500 Fax +1 .202.639.6604 www.velaw.com
      6:13-cv-02428-JD      Date Filed 05/30/19       Entry Number 127-3         Page 33 of 39



V&E                                                                                      August 7, 2017 Page 2




         fact, as evidenced by the appearance of privileged documents in the government's and in
         relators' presentations during our April 25, 2017 meeting. Further, as noted in our separate
         correspondence of July 28, the government has obtained clearly privileged materials, marked
         as such, from relators or other sources. Furthermore, your assertion that the specific
         documents identified in our letter of June 7, 2017 "were not created at the direction of
         counsel as part of Fluor' s internal investigation" is both puzzling and incorrect; as we clearly
         stated in that letter, the documents in question are: (1) a summary of information aggregated
         and analyzed at the request of company counsel as part of the ongoing internal investigation;
         and (2) a summary of the status of that internal investigation. Those documents are only two
         of the 29 privileged documents Fluor has identified to date that relator Jeffrey Nix
         improperly provided to the government (appearing as entries I and 9 on the privilege log
         Fluor provided to you on July 25, 2017). As the government has not identified the basis for
         its assertion that the documents at issue are not privileged, we must assume ~hat the
         government is relying on representations made by Mr. Nix (or his counsel)- and we note
         that Mr. Nix is not the most credible of sources given his wholesale theft of privileged
         materials from company files. If the government intends to challenge Fluor's assertion of
         privilege over those or any other documents identified by Fluor as privileged, we expect a
         detailed explanation of the basis for the challenge. We also note that the government has
         sidestepped altogether the issue of who within the government and the relators' teams has
         reviewed these documents. As you may well understand, the sharing of privileged
         documents threatens to taint the government's investigative teams, and Fluor is entitled to
         understand with whom the documents were shared so that it may seek appropriate redress.

                 We do appreciate the govei:nment has agreed (belatedly) to Fluor's request of more
         than a year ago to furnish it with the documents misappropriated from the company by third
         parties. The materials are voluminous, comprising five CDs, first received by us on July 21.
         We will review the materials as quickly as practicable. At the conclusion of that review, we
         will provide you with a log identifying any additional privileged documents that the
         government has received from third parties. As noted in our separate letter of July 28, the
         preliminary review has found privileged documents, and we expect to uncover more in the
         course of the review. We understand your representation that you have not personally
         reviewed many of these documents, such as those provided by David Payne. However, the
         documents themselves indicate that this very same privileged documentation has already
         been reviewed by other government personnel such as those employed by the Special
         Inspector General for Afghanistan Reconstruction. As we stated in our letter of July 28,
         Fluor expects that the government, relators, and any other parties to whom these documents
      6:13-cv-02428-JD      Date Filed 05/30/19      Entry Number 127-3         Page 34 of 39



V&E                                                                                     August 7, 2017 Page 3




         have been distributed will cease all review or usage of these documents until such time as
         Fluor is able to complete its review and provide a privilege log.

         II.    Improper Sharing of Documents

                 We understand from your statements in the July 19 letter that you have, in fact,
         shared the documents Fluor provided to the government with all relators' counsel, subject to
         an "agreement" with them concerning the uses of those documents. Fluor of course has
         never seen this agreement, never agreed to its terms, and as we previously noted, produced
         documents with the understanding that they would remain confidential. Fluor' s production
         letters accompanying its responses to the Civil Investigative Demand and to the IG-DOD
         subpoena requested such confidentiality, and this was not an issue raised for the first time, as
         you suggest, in our June 7, 2017 letter. It is also self-evident that the materials produced
         include trade secrets and confidential information. For example, the government has long
         known that Fluor has developed its own proprietary material purchasing system (MATMAN)
         and similarly modified Maximo. Further, Fluor has shared information relating to its
         property management practices and procedures, none of which is public and is of value to
         Fluor competitors. The documents provided by Fluor also contain sensitive cost and pricing
         information and other financial documentation that would be considered trade secrets under
         the statute. Although Fluor is aware of the FCA provisions you cite in your July 19 letter,
         none of the authority cited relates to distribution of trade secrets and we are not aware of any
         authority supporting the positions outlined in your July 19 letter. If the government has
         authority stating that the FCA provisions cited empower it to disregard the Trade Secrets Act,
         we request that it be provided promptly. As we noted in our letter of June 7, this was
         certainly not the DOJ's position when it advocated certain changes to the FCA before
         Congress in 2002.

         III.   Improper Contact of Fluor Employees

                 We note that you have not yet made any substantive response to the concerns outlined
         in our letter of June 7 concerning the government's ex parte contact with Fluor employees.
         Instead you have demanded that Fluor provide a list of all "current employees and
         independent contractors, and their date of hire," claiming that this is "more reasonable" than
         providing Fluor with notice of the people whom the government intends to interview. As no
         doubt the government is aware from its investigation, and even the briefest perusal of Fluor' s
         public info rmation would show, Fluor is an international business which employs over
         60,000 individuals worldwide, not including contractors. We assume the government is not
      6:13-cv-02428-JD      Date Filed 05/30/19       Entry Number 127-3         Page 35 of 39



V&E                                                                                       August 7, 201 7 Page 4




         seriously contending that Fluor should provide the names and contact information for 60,000
         employees, so that the government can disguise the persons whom it intends to interview.

                In response to your "various" but vaguely stated concerns about Fluor's retention of
         Shane Ramirez as a consultant, we can represent (and if need be would establish in court)
         that Fluor discussed with Mr. Ramirez his retention as a consultant when Fluor's counsel
         learned that Mr. Ramirez would be leaving Fluor. It is entirely common in such matters to
         place such former employees under consulting agreements to help ensure they remain
         available to Fluor for information. Fluor' s discussions with Mr. Ramirez about becoming a
         consultant occurred prior to Fluor's learning that the government had contacted him. The
         fact that the consulting agreement was not finalized until after the scheduling of Mr.
         Ramirez's interview does not change these basic facts or indicate, as you suggest, that Mr.
         Ramirez was retained as a consultant for the interview itself. Had the government asked
         Fluor about Mr. Ramirez's status prior to contacting him, Fluor counsel could have gladly
         discussed the above with you in an orderly fashion. However, as it has in multiple ways over
         the course of the investigation, the government chose instead to proceed in secret, causing
         unnecessary disruption and delay. We would again request that you provide a substantive
         response explaining why the government is refusing to provide notice of interviews to Fluor
         going forward as we have previously proposed.

         IV.    Improper Interference with Prospective Expert

                  To state it mildly, the government's recitation of the timeline regarding Dr. Goetz is
         inconsistent with our own observations and Fluor's conversations with Dr. Goetz. Contrary
         to the government' s assertions, Fluor senior counsel Don Yenovkian and Dr. Goetz
         communicated by telephone on January 21 , 2016, sixteen months prior to the government' s
         initial contact with Dr. Goetz on May 10, 2017. Furthermore, as the government concedes,
         Dr. Geotz told the government of at least one contact by Fluor through Rita Wells prior to the
         government's initial contact - and rather than contacting Fluor to discuss the current status of
         its efforts to retain Dr. Goetz, the government tried to "jump the line," rushing itself to either
         retain Dr. Goetz or taint him with unspecified information relating to "the nature of [its]
         investigation" despite the fact that it had no consulting agreement in place. At a minimum,
         the government's conduct does not comport with notions of fair play and potentially is far
         worse. As you know, the government's communications with Dr. Goetz after he informed
         you that Fluor had officially retained his services were characterized by Dr. Goetz as
         "hostile." We therefore reiterate our request for the communication with Dr. Goetz that he
      6:13-cv-02428-JD      Date Filed 05/30/19      Entry Number 127-3        Page 36 of 39



V&E                                                                                    Aug ust 7, 2017 Page 5




         took to be a threat, so that we can better evaluate whether the government has attempted to
         intimidate potentially favorable Fluor witnesses.

                 We look forward to receiving a more substantive response from you on the issues
         raised in our June 7 letter and expanded upon here. Please know that Fluor continues to
         review and analyze the presentations made during our April 25 meeting, and is preparing a
         substantive response that will address the issues raised in that presentation at an appropriate
         time following the resolution of the pressing issues raised here. As you may understand,
         however, the government' s conduct in invading Fluor's privilege and the other questionable
         tactics we have described hampers Fluor's ability to focus fully on preparing a
         comprehensive substantive response to the allegations raised.

                 The parties are scheduling a time to meet and confer to discuss the privilege issues
         and we hope at that time that we will be able to meaningfully address these concerns as well
         as discuss a path forward of greater cooperation and transparency on both sides.



                                                      Sine rely,




         cc:    Don Yenovkian, Senior Counsel, Fluor

                Ty Hughes, Hughes Law PLC

                Mark Moore, Nexsen Pruet, LLC
6:13-cv-02428-JD   Date Filed 05/30/19   Entry Number 127-3   Page 37 of 39




                   Yenovkian Declaration
                       Attachment 7
              6:13-cv-02428-JD          Date Filed 05/30/19        Entry Number 127-3           Page 38 of 39



Cooperstein, Kathleen

From:                                Warren, Beth C. (USASC) <Beth.C.Warren@usdoj.gov>
Sent:                                Monday, July 02, 2018 5:06 PM
To:                                  Margolis, Craig D.; Coulter, Art (CIV); McMahon, Linda M (CIV); Ragsdale, Stan (USASC)
Cc:                                  Cooperstein, Kathleen; Ty Hughes(ty@hugheslawplc.com); Moore, Mark C.
Subject:                             RE: Privilege Log for Additional Documents


Craig,

We received the privilege log you sent last Monday, which Fluor created based on a review of documents we provided
to Fluor nearly a year ago, encompassing the documents that had at that time been given to the Government by
witnesses. Your understanding that we have not reviewed any of these documents is incorrect. Prior to the
investigating team reviewing the attachments to the SIGAR report, a government attorney unaffiliated with this case
conducted a privilege review and determined that those documents were not subject to any privilege or legal
protection. We are undertaking efforts to sequester all documents included on your log until we have sufficient
information to evaluate all of your claims of privilege. We do not concede that any of the documents included on your
log are subject to privilege or otherwise protected.

In order to better evaluate your claims of privilege, please provide the following information.

    •      Line 1 of the privilege log does not include adequate information for us to assess Fluor’s claim of privilege. Are
          you claiming a privilege over the SIGAR report itself? To the extent you are claiming a privilege over specific
          documents attached to the SIGAR report, please log those claims as you did for lines 2-16 of the privilege log so
          that we can assess the claim.

    •      In reviewing the privilege log, it appears Fluor has expanded the list of individuals it claims were working under
          the direction of an attorney. On May 20, 2016, Fluor provided a list of 11 key individuals who participated in the
          legal review. The privilege log claims the following individuals participated in the review, who were not
          originally listed in the May 20, 2016 correspondence: Robert Stamps, Tray Perry, Robert Fiorille, and David
          Payne. Please help us understand how this list has now expanded. This moving target makes it difficult to avoid
          exposure to potentially privileged documents, despite our best efforts.

    •      Regarding your overall claims of privilege, we still have not received a privilege log for the documents not
          produced pursuant to the United States’ subpoena issued over 3 years ago. The subpoena requires a privilege
          log for any documents withheld on that basis. Is your production under the subpoena complete?

Finally, with respect to the SIGAR report listed on line 1 of the privilege log (W4_002643-W4002644), it is subject to the
government’s investigative files privilege and was inadvertently produced. In accordance with our claw back agreement,
please confirm that you will return, destroy, or appropriately sequester the SIGAR Investigative Report, found at
W4_002643-W4002644. Our inadvertent production of this report in no way indicates the government’s waiver of any
confidentiality or other protection duly accorded to it or any other investigative report or work product.

Thanks,

Beth C. Warren
Assistant United States Attorney
District of South Carolina
803-929-3037

                                                               1
                 6:13-cv-02428-JD                  Date Filed 05/30/19                  Entry Number 127-3                    Page 39 of 39




From: Margolis, Craig D. <Craig.Margolis@arnoldporter.com>
Sent: Monday, June 25, 2018 10:20 AM
To: Coulter, Art (CIV) <Art.Coulter@usdoj.gov>; McMahon, Linda M (CIV) <Linda.McMahon2@usdoj.gov>; Warren, Beth
C. (USASC) <bwarren@usa.doj.gov>
Cc: Cooperstein, Kathleen <Kathleen.Cooperstein@arnoldporter.com>; Ty Hughes(ty@hugheslawplc.com)
<ty@hugheslawplc.com>; Moore, Mark C. <MMoore@nexsenpruet.com>
Subject: Privilege Log for Additional Documents

Art, Linda, and Beth

Realize we will be talking sometime today about Mr. Jones’ deposition, and we thought it would make sense to send this
along before our call.

As we discussed around the time of our presentation in April, Fluor has undertaken a review of the documents provided
by DOJ in July 2017, purporting to be all documents received by the government from third parties, excluding Jeffrey
Nix. Through that review we have identified sixteen privileged documents, which are described on the log attached
here. We understand from our previous conversations that these documents have not been reviewed by the
government investigative team. Please confirm that this understanding is correct, and also confirm that the
government will take steps to destroy these documents. Please also confirm whether copies of these documents have
been provided to any third parties, including the relators, and that no use has been made of these documents by either
the government or relators in this investigation.

It appears that these documents were stolen by former Fluor employee David Payne. As you are aware from our
correspondence of a few weeks ago, Mr. Payne has evidently filed his own qui tam against Fluor, which remains
currently under seal. Mr. Payne was a security investigator, so his unauthorized taking of documents has serious
implications for Fluor. Please confirm whether the source of the documents was indeed Mr. Payne so that Fluor may
consider what actions to take to protect its privilege.

Thanks,

Craig

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